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                                     CUSTODIAL DEATH REPORT




Agency Information


                                                                                             ORIGINAL
                CDR Number: 21-1371-C                                        Version Type:
                                                                                             VERSION

                                10/14/2021 10:17
                 Report Date:                                                      Status: Submitted
                                AM




Agency/Facility Information

                                Harris County
               Agency Name:                                               Agency Address: 1200 Baker Street
                                Sheriff's Dept.

                 Agency City: Houston                                        Agency State: TX

                  Agency Zip: 77002




Director Information

           Director Salutation: Sheriff                               Director First Name: Ed



        Director Middle Name:



          Director Last Name: Gonzalez



          Reporter Name: Jeffery Vickery                        Reporter Email: jeffery.vickery@sheriff.hctx.net




Decedent Information



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Identity of Deceased

                 First Name: Kenneth



               Middle Name:



                 Last Name: Anderson



                       Suffix: Jr



                Date of Birth: 12/19/1978                                     Sex: Male

                               Black or African
                       Race:
                               American



       Age At Time Of Death: 42




Date/Time of Custody (arrest, incarceration) (mm/dd/yyyy hh:mm AM/PM):

      Date/Time of Custody or 10/10/2021 3:30
                     Incident: AM




Date/Time of Death (mm/dd/yyyy hh:mm AM/PM):

                               10/10/2021 7:28
        Death Date and Time:
                               AM




Manner / Cause of Death


Has a medical examiner or coroner conducted an evaluation to determine a cause of death?

    Medical Examinor/Coroner Yes, results
                  Evalution?: pending




What was the manner of death? (select only one)



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             Manner of Death: Pending autopsy
                              results




Medical Cause of Death:

                                        Medical Cause of Death:

Pending autopsy results




Had the decedent been receiving treatment for the medical condition that caused the death
after admission to your jail's jurisdiction?

           Medical Treatment: Not Applicable




If death was an accident, homicide or suicide, who caused the death?

                                Unknown person(s)
      Who caused the death?:
                                caused the injury




If a weapon caused the death, what type of weapon caused the death? (Hold CTRL to select
all that apply)

   Type of weapon that caused
                               Not Applicable
                       death?:




Was the cause of death the result of a pre-existing medical condition or did the decedent
develop the condition after admission?

                                Not Applicable;
                                cause of death was
          Pre existing medical
                                accidental injury,
                    condition?:
                                intoxication, suicide
                                or homicide




If death was an accident, homicide or suicide, what was the means of death?

              Means of Death: Unknown




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Location / Custody Information


Where did the event causing the death occur?

                                 15413 Kuykendahl
               Street Address:                                                   City: Houston
                                 Rd

                       County: Harris                                            Zip: 77014




What location category best describes where the event causing the death occurred?

        Location Category: Roadway/highway/street/sidewalk




What type of custody/facility was the Decedent in at the time of death:

                                 Police Custody
              Type of Custody:
                                 (pre-booking)




Specific type of custody/facility:

                                 Specific Type of Custody/Facility:

 Custody of Law Enforcement Personnel subsequent to arrest




What was the time and date of the deceased's entry into the law enforcement facility where
the death occurred (mm/dd/yyyy hh:mm AM/PM):

              Entry Date Time:



          Entry Date Time N/A:




Where did the death occur?

               Death Location: Medical facility




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General Information


Did any other law enforcement agencies respond to calls for service related to this incident?

    Other Agencies Respond?: No




What were the most serious offense(s) with which the deceased was (or would have been)
charged with at the time of death?

                                                         Offense 1:

 DWI



                                                         Offense 2:

 Warrants



                                                         Offense 3:




                                  Not filed at time of
            Were the Charges::
                                  death




What were the types of charges or reason for contact? (Hold CTRL to select all that apply)

                                  Alcohol / drug
               Type of Offense:
                                  offense




At any time during the incident and/or entry into the law enforcement facility, did the decedent
display or use a weapon?

        Decedent display/use of
                                No
                     weapons:




At any time during the incident and/or entry into the law enforcement facility, did the decedent:

       Attempt to Injure Others?: No




At any time during the incident and/or entry into the law enforcement facility, did the decedent:

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  Appear intoxicated (alcohol or
                                 Yes                         Make suicidal statements?: Unknown
                         drugs):

       Exhibit any mental health
                                 Unknown                 Exhibit any medical problems?: Unknown
                    problems?:




At any time during the incident and/or entry into the law enforcement facility, did the decedent:

        Barricade self or initiate                            Resist being handcuffed or
                                   No                                                    Yes
                      standoff?:                                              arrested?:

      Physically attempt/assault                             Gain possession of officer's
                                  No                                                      No
                      officer(s):                                              weapon:

      Verbally threaten other(s)                                    Escape or attempt to
                                 Unknown                                                 No
                  including law:                                    escape/flee custody:

       Attempt gain possession
                                No
              officer's weapon:




Was the deceased under restraint in the time leading up to the death or the events causing the
death?

                                Yes, mark which
               Under Restraint: restraint devices
                                were used




Type of restraint

              Type of Restraint: Handcuffs




Summary of Incident


Summary of How the Death Occurred: (max. 30,000 characters)

                                                         Summary:

 On October 10, 2021, Harris County Sheriff's Office deputies responded to a one vehicle major crash. The
 driver and sole occupant of the vehicle was identified and detained. EMS paramedics arrived and assessed
 the male, clearing him for transport. The scene was moved off the roadway into a parking lot. The male was
 moved to another patrol vehicle and placed into the backseat where he refused to allow deputies to close the
 door. The male continued to use his body to prevent the doors from closing and struggled with deputies. A
 deputy drive-stunned the male with his Taser to gain compliance. EMS paramedics responded to the use of
 force incident, assessed the male, and cleared him for transport. Upon arrival at the Harris County Joint
 Processing Center, deputies observed the male unresponsive and called for EMS. Deputies and jail medical


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staff started CPR and Houston Fire Department paramedics arrived to assume care. Paramedics transported
the male to St Joseph Hospital where his care was released to hospital staff at approximately 6:53 a.m. Dr.
Afuwape pronounced the male deceased at 7:28 a.m.




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